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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                      Case No. 20-20113-Civ-WILLIAMS/TORRES


  STEVEN F. HELFAND,

        Plaintiff,

  v.

  ESSLINGER WOOTEN MAXWELL
  INC. d/b/a BERKSHIRE HATHAWAY
  HOMESERVICES EWM REALTY, et al.

        Defendants.

  ______________________________________/

        ORDER ON DEFENDANTS’ MOTION TO TAKE A DEPOSITION

        This matter is before the Court on Esslinger Wooten Maxwell’s d/b/a

  Berkshire Hathaway HomeServices EWM Realty and Marcelo Steinmander’s

  (collectively, “Defendants”) motion to take the deposition of Steven Helfand’s

  (“Plaintiff” or “Mr. Helfand”) former neighbor (“A.W.”).       [D.E. 77].   Plaintiff

  responded to Defendants’ motion on August 5, 2020 [D.E. 78] to which Defendants

  replied on August 11, 2020. [D.E. 79]. Therefore, Defendants’ motion is now ripe

  for disposition. After careful consideration of the motion, response, reply, relevant

  authority, and for the reasons discussed below, Defendants’ motion is GRANTED

  in part.




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                                      I.    ANALYSIS

        Defendants’ motion seeks to take the deposition of Plaintiff’s former neighbor,

  A.W., because she is a material witness in determining the viability of Plaintiff’s

  allegations that arise out of a violation of the Fair Housing Act. But Defendants are

  concerned that if they notice A.W.’s deposition, and Plaintiff attends the deposition

  as he is normally entitled to, it will violate a Florida state court order that

  compelled Plaintiff to stay away from A.W. Defendants assert that the reason for

  the court order was because Plaintiff tried to break into A.W.’s unit through her

  balcony when they were both tenants residing in a condominium unit. The Miami-

  Dade State’s Attorney Office then charged Plaintiff with a felony for attempted

  burglary of a dwelling pursuant to Fla. Stat. § 810.02(3)(A). Defendants understand

  that Plaintiff is representing himself pro se in this action and that he cannot find a

  licensed Florida attorney to represent him if the deposition takes place.

        Given that A.W.’s deposition is needed to prepare for a defense and the

  reason Plaintiff cannot attend is because of his own actions, Defendants reason that

  it is Plaintiff’s responsibility to resolve this issue.   Defendants maintain that,

  irrespective of how this issue is resolved, they should not be penalized for Plaintiff’s

  wrongdoings when the witness they seek to depose has a stay away order in place

  against Mr. Helfand.      They reason that Plaintiff must make the appropriate

  arrangements and, if necessary, hire an attorney, pay for the costs of a special

  master to oversee the deposition, or work cooperatively with the Miami-Dade State




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  Attorney’s Office to modify the state court order or allow a representative to attend

  the deposition for the purpose of monitoring Plaintiff’s behavior.1

        Plaintiff’s response is that Defendants never met and conferred on this issue,

  as they are required to do so under the Court’s Local Rules. Plaintiff also argues

  that Defendants filed a discovery motion in violation of the Court’s Standing Order

  on Discovery Procedures when they know that discovery disputes have to be noticed

  on the Discovery Calendar.2 Notwithstanding these failures, Plaintiff asserts that

  he has no objection to the appointment of a special master as a way to resolve the

  problem. In fact, he claims that he is the one who proposed the appointment of a

  special master as an accommodation to opposing counsel.         Plaintiff takes issue,

  however, with the proposal that he pay for the costs of a special master because he

  is proceeding with this case in forma pauperis and cannot afford to pay for someone

  to supervise these proceedings. Plaintiff states that if, Defendants had conferred on

  this issue, this would have been discussed (if not resolved) during a meet and

  confer.   Ultimately, if a special master is appointed, Plaintiff concludes that




  1     Defendants state that A.W. is willing to appear for a deposition but that she
  remains fearful of Plaintiff, does not want Plaintiff to participate in the deposition
  per the terms of the stay away order, and wants her personal identifying
  information (i.e. physical address, telephone number, email address) to remain
  confidential.

  2     Unlike most cases with pro se parties, the Court has previously allowed
  Plaintiff to participate in discovery hearings in this case because of his prior
  admission to the State Bar of California. That is, unlike most pro se parties,
  Plaintiff has the experience and legal training of a lawyer to resolve disputes during
  discovery hearings.
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  Defendants should pay the interim costs and, if Plaintiff prevails in this case, that

  allocation may be amended after final judgment.

        Turning solely to the merits on the motion to take A.W.’s deposition3, the

  Federal Rules of Civil Procedure establish clear, unambiguous rules governing

  depositions. They provide, in relevant part, that “[a] party may, by oral questions,

  depose any person, including a party, without leave of court except as provided

  in Rule 30(a)(2)[.]” Fed. R. Civ. P. 30(a)(1). Neither party argues that any of the

  exceptions in Rule 30(a)(2) apply. The only issue is whether A.W.’s deposition can

  proceed in light of a Florida state court order that directs Plaintiff to stay away

  from A.W. and to “have no contact with him/her in person, by telephone, or and/or

  through any other individual.” [D.E. 77-1].

        The parties request that the Court interpret the scope of this order and to

  give guidance to the parties on how they should proceed with A.W.’s deposition

  without violating its terms. But, the scope of the order is not for us to decide.4 That

  is an issue reserved for the court that issued it. And there is nothing in the Federal

  Rules that prohibit the taking of A.W.’s deposition. Whether Plaintiff decides to

  violate the stay away order and attend the deposition, hire a lawyer, or otherwise



  3      While the Court could consider the other arguments on the parties’ alleged
  failure to meet and confer, and the filing of a discovery motion on the docket, the
  Court will bypass these preliminary considerations to focus solely on the merits.

  4     Although we refuse to offer any opinion on the scope of the stay away order, it
  appears, based on the plain language, that Plaintiff cannot attend the deposition via
  any telephonic or video conferencing methods. It also appears that Plaintiff cannot
  attend through another individual, meaning the proposal of appointing a Special
  Master may be equally deficient.
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  agree not to appear at all, that is a decision for him to make. An Order from this

  Court may not insulate him from responsibility under the state court Order.

        At the same time, proceeding with the deposition as noticed and subpoenaed

  also allows the non-party to consider in the first instance what intervention she

  desires, if any. The witness may be comfortable with proceeding given that the

  deposition will be taken virtually under the current circumstances. Or she may

  insist that the deposition may proceed only via a special master, in which case

  Defendant can elect to proceed in the manner proposed by Plaintiff. Or she may

  elect to raise the issue in Florida state court if Plaintiff attends over her objection.

  But the most appropriate forum for any controversy over the state court Order is

  before the state court judge.

        Either way, it does not change the fact that Defendants are entitled to take

  A.W.’s deposition. Because Defendants are entitled to take A.W.’s deposition, their

  motion is GRANTED in part at this stage and Defendants have leave to subpoena

  and schedule the deposition. This is the most that we can do given this Court’s

  limited jurisdiction that extends only to this litigation.

                                    II.    CONCLUSION

        For the foregoing reasons, it is hereby ORDERED AND ADJUDGED that

  Defendants’ motion to take A.W.’s deposition is GRANTED in part.




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        DONE AND ORDERED in Chambers at Miami, Florida, this 15th day of

  September, 2020.

                                           /s/ Edwin G. Torres
                                           EDWIN G. TORRES
                                           United States Magistrate Judge




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